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IN THE UNITED STATES BANKRUPTCY COURT FOR
THE WESTERN DISTRICT OF OKLAHOMA

IN RE= sex wise ) case No. 19-10263»5AH
Chapter 7
DEsToR )

MDTION ron RELIEF FROM AUTOMATIC STAY AND NOTICE oF
fNTENT To sEEK ABANDONMENT oF PROPERTY,
'wAIVER or RULE 4001(a)(3}
BRIEF IN sUPPORT THEREOF
AND NOTICE or 0PP0RTUNITY FOR HEARING

COMES NOW, Nationstar Mortgage LLC d/b/a Mr Cooper, a
corporation, or its successors or assigns, (hereinafter referred
to as Movant) and pursuant to the provisions of Title ll U.S.C
Sections 361, 362 and 554, moves the Court to grant it relief
from the automatic stay and order abandonment of the subject
property.

In support of its Motion, Movant alleges and states as
follows:

l. That the original makers, for a good and valuable
consideration, made, executed and delivered to the Payee, a
certain written purchase money promissory note.

2. As a part of the same transaction, and to secure the
payment of said note and the indebtedness represented thereby,
the said makers, being then the owners of the real estate
hereinafter described, made, executed and delivered to the Payee,
their purchase money real estate mortgage in Writing, and therein
and thereby mortgaged and conveyed to said mortgagee the

following described real estate situated in Oklahoma County,

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State of Oklahoma, to-wit:

LOT FIVE (5}, IN BLOCK THIRTY-ONE (31), IN

RAMBLING ACRES, SECTION 3, AN ADDITION TO

OKLAHOMA CITY, OKLAHOMA COUNTY, OKLAHOMA,

ACCORDING TO THE RECORDED PLAT THEREOF;
with the buildings and improvements and the appurtenances,
hereditaments and all other rights thereunto appertaining or
belonging, and all fixtures then or thereafter attached or used
in connection with said premises.

3. Movant is the current owner and holder of the note and
mortgage above referenced.

4. Default has been made upon said note and mortgage.
After allowing all just credits, there is due to Movant on said
note and mortgage the sum of $105,335.91, with 3.875% interest
per annum thereon from October l, 2018, until paid; together
with advances, costs and attorney fees, for which amounts said
mortgage is a first, prior and superior lien upon the real estate
and premises above described.

5. The mortgage of Movant constitutes a valid first lien
against the mortgaged property, prior and superior to any right,
title, lien, estate or interest of the Debtor or any other party.

6. The Debtor has no equity in the mortgaged property.

7. The mortgaged property is not necessary to an effective
reorganization.

8. Movant will suffer irreparable injury, loss and damage

unless the automatic stay is lifted so as to permit Movant to

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commence with its foreclosure action. The irreparable injury
will be a greater accrual of interest on the unpaid principal
balance and a potential deterioration of the property without the
ability of lender to conduct property preservation efforts. In
the alternative, the Debtors be required to provide Movant with
adequate protection of its interest in the mortgaged property.
Movant requests that the court waive the provisions of Rule
4001(a)(3) which provides for a stay of fourteen (14} days
following the entry of an order granting a motion for relief from
stay. The basis for the waiver of the 14 day stay is that the
lender will suffer irreparable injury, a greater accrual of
interest on the unpaid principal balance and a potential
deterioration of the property without the ability of the lender
to conduct property preservation efforts.

9. The mortgaged property is burdensome to the estate or is
of inconsequential value to the estate and it is therefore in the
best interest of the estate and the Debtor that relief from the
automatic stay be granted and that the mortgaged property be
abandoned so as to permit Movant to proceed in State Court with
an action for foreclosure.

10. Notice of the Motion has been afforded to the Trustee,
the Debtor and to all parties claiming an interest in the subject

property.

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11. Noteholder directly or through an agent, has possession
of the promissory note. The promissory note is either made
payable to Noteholder or has been duly endorsed. Noteholder is
the original mortgagee or beneficiary or the assignee of the
security instrument for the referenced loan.

12. ln the event the automatic stay in this case is
modified, this case dismisses, and/or the debtor obtains a
discharge and a foreclosure action is commenced on the mortgaged
property, the foreclosure will be conducted in the name of
Nationstar Mortgage LLC d/b/a Mr Cooper, “Noteholder”.

NOTICE OF OPPORTUNITY FOR HEARING

Your rights may be affected. You should read this
document carefully and consult your attorney about your
rights and the effect of this document. If you do not
want the Court to grant the requested relief, or you
wish to have your views considered, you must file a
written response or objection to the requested relief
with the Clerk of the United States Bankruptcy Court
for the Western District of OKlahoma, 215 Dean A. McGee
Ave., Oklahoma City, OK 73102 no later than le days
from the date of filing of this request for relief.

You should also mail a file-stamped copy of your
response or objection to the undersigned
movant/movant's attorney [and others who are required
to be served} and file a certificate of service with
the Court. If no response or objection is timely
filed, the Court may grant the requested relief without
a hearing or further notice. The 14 day period
includes the 3 days allowed for mailing provided for in
Rule 9006(£) Fed. R.Bankr.Proc.

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WHEREFORE, Movant moves the Court for an Order vacating or
modifying the automatic stay herein as provided by ll U.S.C.
Section 362 and directing the Trustee herein to abandon the
mortgaged property as authorized by ll U.S.C. Section 554 so as
to permit Movant and other interested parties to enforce their

liens against the mortgaged property.

Nationstar Mortgage LLC d/b/a Mr Cooper,
a corporation,

BY: s/Bret D. Davis
BRET D. DAVIS #15079
LAMUN MOCK CUNNYNGHAM & DAVIS, P.C.
5613 N Classen Boulevard
Oklahoma City, Oklahoma 73118-1295
{405) 840-»5900
Attorney for Movant
bdavis@lamunmock.com

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-CERTIFICATE OF SERVICE

l hereby certify that on the fzm day of %FO¢{ , 2019,

a true and correct copy of the Motion for Relief and Abandonment
of Property was electronically served using the CM/ECF system,
namely:

Richard J. Phillips
Attorney for Debtor

John D. Mashburn
Trustee

United States Trustee

Further I certify that on the Q'Uz day of %V‘U& , 2019
copies of the Motion to Lift Stay and Abandonment of property
were forwarded via U.S. Mail, first class, postage prepaid and
properly addressed to the following at the addresses shown below
and all parties listed on the matrix attached hereto:

Rex Wise
2208 Clubhouse Dr.
Weatherford, OK 73096

s/Bret D. Davis
BRET D. DAVIS #15079

Lahel Matrix for local noticing
1087-5

Case 19-10263

Western District of Dklahoma
Oklahoma City

Hed Mar 6 14:11:45 CST 2019

Cabela's Visa
P.G. Box 325?5
Lincoln NE 58501-2575

Citi Cards
P,O. Box 6500
Sioux Falls SB 51211»6500

IBC Visa

331? NW Expressway

Suite 100

leahoma City OK ?3212~1448

Sam's Club Mastercard
P.O. Box 960013
Orlando FL 32896-0613

Rex Hise
2203 Cluhhouse Dr.
Weatherford, OK 73096-5290

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Synchrony Bank

c/o PRA Receivables Management, LLC
PO Box 41021

Norfolk, VA 23541-£021

Care Credit
P.O. Box 960061
Grlando FL 32896-00€1

Discover
P.O, Box 790213
Saint Louis MO 53119-0213

Nationstar Mortgage LLC dib/a Mr. Cooper
8950 Cypress Waters Bouievard
Coppell TX 75019-4620

United States Trustee

United States Trustee

215 Dean A. McGee Ave., 4th Flour
Oklahoma City, OK 13102-3479

Richard J. Phillips
423 Frisco Avenue
Clinton, OK 13601-3439

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USBC Hestern District of Okiahcma
215 Bean A. McGee
Oklahoma City, OK 13102~3426

Chase Bank
P.O. Box 15298
Wilmington DE 19856~5298

HSBC Card Services
P.O‘ Box 49352
San Jose CA 95161-9352

PRA Receivables Management, LLC
PG Box 4162§
Norfolk, VA 23541-1021

John D. Mashburn
1616 E 19th Street, Suite SGLA
Edmond, OK 73013~6519

End of Label Matrix

Mailable recipients 16
Bypassed recipients 0
Total 15

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Propared hy: mEDREA GIVBNB
CASE #: LAPEJ.S’.L$OS'IBBSS

 

NO'I`E

NOTICE: THIS LOAN IS NOT ASSUl\/IABLE WITHOUT THJE
APPROVAL OF 'I`HE DEPARTMENT OF VETERANS AFFAIRS OR
ITS AUTHORIZED AGENT.

JUNE 06, 2012 OKLAHOMA
I_D:ue‘l [Ul‘ly] [Sln\cf

5804, TRACY DRIVE, OIC[J\.HOMA CITY, GK. 73132-3.069
|I'mpcn_v .*\Mn$$l

1. BORROWER‘S PRGMISE 'FO PAY

ln realm for n loan that l have rcceivecl. l promise lo pay U.S. S 121,125. 00 flhis amount is called "Pr]ncipul").
plus interest :o the orde:4 of:he Lender. The Lender is
BRNK OF AMERICA¢ N.A.
l will make all paymems under this Nolo in the form ofeosll, check or money orde\'.

l understand that the tender may transfer this Nole. Thc Lcndcror anyone who lakes this Nole by lmrul`er and who is entitled
to receive payments under ilris Noze is culled me ’*Note I-]older."

2. INTEREST

%merest will be charged on unpaid principal until me full amount of Prineipul hn:c been paid l will pay internal ul u yearly rate
of 3 . 875 %.

The hue;'est rule required by this Seecion 2 is me rulel will pay hom before and nder any dcl`z\ull described in Seeiion 6(}3) of
this Nolc.

3. PAYMEN'IS

(A) Time and Pl:\ee of I’aymems

l will pay principal end inleresl by making o payment every monlh.

l will make my monthly payment on the FIRST day ol` each mouth beginning on

AUGUST 01 , 2012 . [will make those payments every month until lhuve paid all ol"ll§e Priuci[ml and interest and any

usher cherch described below that l may owe under this No\e. Eoch monthly puyrncul will be applied as of its scheduled due dole
and will he applied to interest before Principol. ll`, on JULY 01, 2942 , I suit owe emmons under this Nole. 1 will
puy lhoscz\moems jo full on lhnt dme. which ls culled lhe ‘*Mufurlty Dnte.*'

§ will make my monthly payments at
P,O. BOX. 5500'70, D€llla$, TX 75265-00‘70
or at o dillerem place if required by the Nolo Hofder.

(B} Amount of Mouthly Payments

My momth payman will belo the amount of U.S. S 569 . 59

4. BORROWER‘S RXGHT TO PRE?AY

l have llze right to mnl<c poymenls of Pcineipui at amy :lme before may nrc due. A payment of P;'il\.cipn| only is known ns a
"Pf€lm>'mem." When I make a Prcpnymenz. l will tell me Note l~Ioiuer in writing mal l am doing so. 1 may nos designate o
payment as a F:'opaymcm ll` l have not mode all the monthly poymenis due under this Ncle.

l may make o fhll Prepnymcn: or puni:xl Prcpuymculs without paying a ?repaymcnl; charge A pnrliol l’repoymem must he in
en amount nos less then the next monthly pr£ncipal payment \)1' S§GO. whichever is lcss. 'l'he Nole §lolder will use my ¥’repuymems
co reduce the amoun! of Principul zh.~u I owe, but may t“m:l apply the l’sep:\ymem co may accrued and unpaid lnleresr. A full
Prepayment will be credited on the dale received by the Nole llolcler and no intercsl wll| he charged adler Llsa§ duse. A partial
Prcpuymem will be credited by the next payment due dole or 30 days after mo qupnymeut is received lay the Notc Hoh£cr,
whichever ls earlier.

5. LOAN CHARGES

if o Iaw, which applies to mls loan and which seis maximum loan elml'ges. is finally inlerpselecl so that the interest or ozhcr
loan charges collccced or lo bc collected in eonneezlou wish il\is loan exceed the permitted limits. tlsez\: (o) any such lone ulmrge
will be reduced by the amount necessary 10 reduce ll\e charge ao the permitted limit msd (b] any sums already eollceled from me
which exceeded permiucd limits will be refunded lo me. The Note I-lolder may choose to make this refund by reducing the
Principal l owe under this Nore or by making a direct payment lo me. ['l`e refund reduces Peinelpol, me reduction will be healed ns
21 partial l’rep;:ymem.

MULT|STATE FlXED RATE NOTE--Slngle chlly--Fannlo Maeii~‘roddlo Mae UNIFORM |NSTRUMENT Form 3200 1!01 Amendnd 5i00
Amondcd for Ve!ozans Af!oirs
\."A lead Ralo Nole
ZDDSG-XX (05111){\','.|[) Pagcz 1 of 3
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'23991' '24246?7890000020056‘

 

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C‘ASE ll: LAP5151605'75896 LOAN # :
6. BORROWER'S I"AILURE TO PAY AS REQU¥RED
(A) Latc Citorgc far Overdne Payments
if the `Notc l'lotder has not received the tell amount of any monthly payment by the end el" FIlT-‘TBEN' calendar
days after the date it is thtc, ]` will pay n late charge to the Notc l~loldcr. 'Ihc national of the charge will be 4. 000 % oi' toy

overdue payment § witt pay this late charge promptly but only once on each into payment .

(B) Dcfanlt

ll` l do not pay the full amount et"each monthly payment on the date it is ritte, l will be in dei`eult.

(C) Notice ol'Defenlt

Il‘I am in default the `Note lioltlor may send roe a written notice tei|ing me that if l do not pay the overdue amount by n
certain date, the Noto l-io!der may require me to pay immediately the i`ttll amount of Prineipnl which has not been paid and oil the
interest that l owe on that ntnonnt. Thnt dale tnnst be at least 30 days alter the date on which the notice is mailed to me er delivered
by other tneons,

(!’J} No Waiver By Nete Heldcr

I:'vcn ifj et n time when l am in default. the Note ilolttcr does not require me to pay immediately in full as described above.
lite Note l'toldcr will still have the right to do so if] amin default ut n later timo.

(E) I’nyrnent ol`Note Hettler‘s Costs and Ertpensos

lt"the Notc i-lo|<ler has required tne to pay immediately in ittll ns described above, the Note iiolder witt have the right to be
paid back by nic for all o'F ila costs and expenses in cnl`orcing this Notc to the extent not prohibited by applicable |nw. ']`hose
expenses includc\ for cxantp|c, reasonable attorneys' fecs.

'i'. G}'VING O`i" NO‘I‘ICES

Unlcss applicable law monian e different method, any notice that must be given to me under this Nnte will be given by
delivering it or by mailing it by iith ciass mail to me at tile Property Adclrcss above or at a different address il`l give the Note
t~loirlcr n notice ofmy dit¥'erent address.

Any notice that mast be given to the Note l']oldet under this Note will be given by delivering it or by mailing it by inst class
mail to lite Note i~loldor at the address stated in Scctictn J(A) above or at tt different address ill am given n notice oi" that tlii‘|'erent
nddress.

8. OBL»IGA'I‘IONS OF PERSONS UNDER 'TTIIIS NO'I`E

li' more than one person signs this Note, each person is fully and personally obligated te keep atl of the promises marie in this
Note, including the promise to pay the intl amount owed. Any person who is n gntuantor, stilety or endorser et` this Netc is also
Obl`llsated to do these things. Any person who takes over these obligations, including the obligations of a guarantee surety or
endorser oi'tltis Nolc, is also obligated to keep tall o'i" the promises made in this Note. 'l'ltc Note Hoirier may enforce its rights under
this Not'o against each penton individually or against all oi.` ns tngcther. 't`his means that any one cf ns may be required to pay ali of
the amounts owed under this Notc.

9. WANERS

l ean any other person who has obligations under this Notc waive the rights ei` ?rcsentnient and Netice of Disltonor.
"Prescnttnent" means the right tn require the Note lioldcr to demand payment ot`ameants due. "Not.ice of Dishonor” means the
right to require the Note lioider to give notice to other persons that antonan due have not been paid

Hl. UNIFORM SECURED NOTE

’l`his Note is a uniform instalment with limited variations in some jurisdictions. in addition to the protections given to the
Nete Holdcr under this Notc. n Ivlortgego, Deed of`Trast. or Sccnrity I)ecci (the “Seenrity lnertunent”), dated the same date ns this
l~t'otet protects the Notc i-loldcr from possible leases which might result il` 1 dc not keep the promises which i make in this Note.
'l'hat Sccer‘tty instrument describes how and under what conditions f may be required te make immediate payment in full ot` all
amounts I owe under this Notc. Somc of those conditions are rlescrdrcd as folluws:

lf`att er any part cf the Preperty or any interest in the Propctty is sold or transferred (or if Borrower is not a annual person
end a beneficial interest in Berrewcr is sold or traitsi'erred) without Lcndet"s prior \vritzen consent l.endcr amy require immediate
payment in full ot' all stnns secured by this Set:urity lnstrument. l-iowcver, this option Shttl] not be exercised by i.`.cnrlcr il‘ such
exercise is prohibited by Applicable l.nw.

Ii' Lcnder exercises this optical Lcnder shall give Bc)rrower notice of acceleration ‘t`ite notice shall provide a period ol' not
less than 30 days from the date the notice is given in accordance with Sectlen 15 within which Berrowcr must pay all sums
secured by this Securily inslrtnncnt. if iiorrower fails to pay these sums prior to the expiration oi` this pcriod, Lcnt|er may invoice
ang/remedies penaltth by this Sc€urity lnstrtuncnt without further notice or ricanmtt on lltorrower.

MULT|S'FA.TE FIXED RATE NOTE»-S|ngio Fomlly-Fannle Moc!Frcr.ldln Mae UNEFURM WS'FRLIMENT Fom't 3200 ‘ilt`iT Amom:lod tiiDD
Amanded forvetorans Afl’airs

VA Fixed Ftoto Note
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CASE #: LAPS].SJ.GDS'?SBQS
H. DEPAR'I`MENT OF VETERANS AFFAIRS GUARAN'I`EED LOAN AUTHORITY _

H` my loan is approved for n guaranty under Title 38‘ Pnrt 36 of thc Codc of cht:ra] chu|u£ion£ in effect on tch date n£my
loan. thc rights. dutics, and liabilities of the parties to this Notc arc governed by those rcguiatinsls. Any provision ni'this Notc
inconsistent with the regulations is amended and supplemented to conform with thc mgulatinns.

LOAN tit

 

WITNESS TSIE .$:IAND{S) AND SEAL(S) OI" THE UNDERSlGNED.

L&'~R/k,- w w LS "&J ""rz' (Sca|)

‘REX L. WISE -Borrowcr

(Scnl}
' Borrowcr

 

(Seal}

- Borro\vc:

 

 

 

(Seah
' Borrowec'
[ngm O)'ig:'rtaf On.fy]
IPAY 'B”O THE ORDER OW
WITHOIUT REC`OURSE
BANK OF AMEHICA, N.A.
m QYM Wy
_ Ann M Flores
Asslstant Vice President
MULT|STATE FtXED RATE NOTE-Singte Fam`:ly-Fannte MaetFrcddIa Mac UN|FORM !NSTRUMENT Form 32DU 1101 Amundud 6100
Amonde:£ forvutumns Afta!rs
VA Fl'xec$ Rala Nole

ZUUSG»XX (05!1 1) Page 3 af 3

 

 

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. Prepared by; AI\!DR.EA GIVENS

 

DA’IE: 06/06/2012 office #= census

BORROWER:REX L. wISE 511 s JOHN w cARPENTER s'rs 400
, rvaN<;, Tx 75052

CASE NO. LAPSILSJ.SGS'?BBBG Phonm (972}555_1212

LOAN NO: 24246'7789 O£fice gmc NO_: m

PROPERTY; 8804 TR.ACY DRIVE
OKLAHOMA CITY.. OK 73132-1069

NAN[E AND SIGNATURE AFFIDAVIT

BEFORE ME, the undersigned Notat'y Public, on this day personally appeared the person who signed this Aft`tdavit, and
who, after being duly sworn by me, did on his or her oath state the following

 

_ lv£y legal name is: My legal signature is:
' Rsx L. swiss L(';Lt. L- L\)_Uh.§? “'¢\_;_, WM,Q
{Print or Type Name) Siguaturs (exzsctly'usl signed the Securily lustrumem}

l am also known as:

sss W:tzss \Q_,£‘_t,_ l_)~J)~J>S-=:
l

 

 

 

{Prlnt or ’l`ype Name)

Rsx sss mss leland \.C{z L\_l /\/>_Q.
; (Print or '§'ype Name) `
j (Print or Typs Name)
l (Print or Typs Namo)

Statc/Commonweaith MMM/W{ "'C'

County!Parish of ‘/Kl/ C¢lf/'LX‘MC

j
Su%)scr§be ille swe$tBto_( 1' a'ff'srmed) before me on this é?.f:é';. day of ’ \'J€~ ,20 f 31 .by
`t$€sz,r. \4 9 ,p

L.M}.c/", towed to me on the basis of
satisfactory leviHence to be the person(s) who appeared before mo.

signature @LMU,QZM\/g“/MUZO'L

    
   

GAHO§.VN S. WEBBER
Notary Publlc
stare of oklahoma 3331
Commlsslon # 02014728
"f My Commlss!on Expires Auq 28. 20 '-f

Name & Stgna!ure Afliciavlf
l 1304--us (11/08).01[<1/1) Pags 1 of1

l llll||lllll|||lllllllllll|lllllllll|l|l ll|ll|lll l||l|ll|ll||lll|ll

 

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M'tr:r Rccordirtg R.ctltm Tc:
BANK Cll? AMERICA, }T.Pt.

Reccm‘l‘rust: Co./‘I'X2~9'79~01-t}7
P.O. on 619003

 

Dal'.i.a$, 'I'X 75261-5003 c)EHR
. n . URE¢)'B CER ?’lF¥¥
Ptcp red By. Fczlqa copy HAT `I'H
morton owners TAMER{ op THE g is 'SA TR
iSpucu Almvc Tllls Llnu For Rucordlng Dnt:tl QAN »- idle d ERE{{SEj:-AND
LAPSISJ.GOE?BBE)G 732855§¥___ '
[{.'zme it] {Ksc:cw/Clnsl'ng ii] l l

   

MORTGAGE

MIN 1000255-00 6146432‘7-2

NOTICE: THIS LOAN IS NOT ASSUMABLE WITHOUT
THE APPR.OVAL OF THE DEPARTMENT OF
VETERANS AFFAIRS OR, ITS AUTHORIZED AGENT.

DEF§N!TIONS

Words used in multipie sections of this documan am defined below and other words mo dctinoti in Scctimts 3. ii, t3, lS. 20 and
2 i. Cortoin relies regarding the usage of words used in this document ore also provided in Sectiot\ I(t.

(A} “Sccurity `[nstrument" means this document which is dated GUNE: 06, 2012 , together withzill Ridors to this
documcn!.

(B) “Borrower”is

R.EX L WISB. 11 SINGLE PERSGN

Borrower ts lite mottgogot ultde: this Socurity Insmiment.

(C} “MERS” is Mortgage Eiectronic t{egistrution _Systems, inc MI:IRS is a separate corporation that is acting solely as a
nominee for Lc:tdor and J.cndcr’s successors and assigns MERS is the mortgagee under this Sccnrity Instrument. MERS` is
orgnnizcd and existing under the laws ol` Doiawnrc and lms nn nddrc.'nt and telephone number of P..O Bux 2026 Fiint,
Ml 43501-2026, tel. (8'58) 67.9-MERS.

(D) “Lendor"‘ is

BAZ‘IK OF AMERICA¢ N.A.

Lcnt.it:r is a NATIONAL ASSOCIATION

otgm\izcd and existing m:dcrthe laws oE THE UNI'I'ED STP.'I'ES

Lendct’s address is

161 Sout:h Trycm St‘.ree.t, Charlot.te,, NC 28255 -
(E) “Nete” means lite promissory note signed by Bormwer and dated \'HJNB 06, 2012 . 'I`ltc Notc states that

Bnrrower owes Lendcr
ONE HUN'DRBD TWENTY ONE THOUSAND ONE HUNDR.ED TWEN'I"£ NINE and 00/100

Doilnrs (U. S. S 121,129. 00 }pltts interest Borrowcr has promised to pay this debt in regular Pcrindic Fayments and to
pay the dcbt' m fui£ notlntcrthait JULY 01t 2042

(F) “Property” manor the property that is described bciow under the heading “’i`rnnst't:r ofilights` in the Pro;)crty."

(G) “Lonn” means the debt evidenced by the Notc. plus interestl any prepayment charges :\ntl late charges due under thc Note,
and all sums due under this Seotllity fnstrurnent, pitts intorcsl.

(H} “Riders” means all Riders to this Security Instrumcnt that arc mtceutcd by Borrowcr. The following Riders one to bc
executed by Borrower [cttcck box ss nppiicablo}:

§ Adjustnbie Rate Ridcr [:_] C`ot)domioium llidet i:i Sccood lionic Rider

Bs!ioon Rider m Plarmer.i Unit De\'olopmont Ri<ier l___i 1-4 I'°nmily Ridor

ig VA Ridcr [_:i Biwoe!ciy Poyment R.ider m Otitcr(s) {spccli'y]

OKLAHOMA~SIngIa Famlly~Fannle Mae!f-'reddle Ma\': t.|NIFORM INSTRUMENT {MERS) Frmn 3037 1501 (rov. 12{03}
MERS Mortgagc~OK

ZOQSA-Oi< (i}BiOB}{d!l] Pago 1 ul’B

§ ill ijl

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CASE #: IJA?SlSlGDE?HSBS I§CC ID if: 000242‘16‘?78906012
(I) “Appllcabte Luw" means alt ccunoliiug applicable fcdernl, state and local stotutes. regulations ordinances and
administrative rules and orders (that have the effect of taw} ns well as altapplicable Hnal, noo»appcalabtcjndicittl opinions

(J') “Contntunity Associution Dues, l"‘ees, and Assessments“ means all ducs. fees, assessments and other charges tltttt are
imposed on Borrower or the Propurty by n condominium ussociotion, homeowners association or similar organimtion.

{I{) “}?.lectronie Fuuds Tr:tnsfer" means any transfer of funds, other than a transaction originated by ettcclt. cirat't, or siniiiar
paper instrument, which is initiated through nn eiectronic terminal, telephonic instrumcnt, oompttter, cr magnetic tape so as to
ordcr. instmct, or authorize a financial institution to debit or credit an nccount. Sueh tenn includes but is not limited to.
pcint-of~sale transfers automated teller machine transactions transfers initiated by telephone wire transfers and articulated
clearinghouse transfers

(L) “Escrnw Iiertts” means those items that arc described in Scetion 3. _

(M) “Miseett:tneous Proeeeds” means any compensation settlement, award ot’ damru_:,es, or proceeds paid by any third party
(other than insurance proceeds paid under the coverages described in Scetion 5} for: (i) damage to. or destruction et`. the Property;
(_ii} condemnation or other taking of att or any part of the Property; (iii) conveyance in lieu of condemnation; or
(iv) tttisreprescntaiions ol`, or omissions ns to, the vaiue and/or condition ol`thc Property.

(N) “Mortgttge Insurnnco” means insurance protecting T..cndcr against the nonpayment ot`1 or dcti'tult co, the Loatt.

(O} “Periodie Pnyrncnt" means thc regularly scheduled amount due t"or {i) principal and interest under the tho, plus (ii) any
amounts under Secticn 3 ol` this Security ittstrutnertt.

C[’) “RESPA" means the Iteai Estate Settlement Pt'ocedttres Act (12 U.S.C. Scctioa 2601 et seq.) and its implementing
regulation Regulstion X (24 C.E-'.it. t’art 3500], as they might he amended front time to timc, or any additionni er successor
legislation or regulation that governs thc same subject :nattcr. As used in this Secnrity lnstrument, “R.BSE’A” refers to all
requin:menL=t and restrictions that nrc imposed in regard to a "federaliy related mortgage loan" even il"tltc Loan does not qualify as
c “t`edernity related mortgage tnan" under RESPA.

(Q) “Succcssor in Irtfet‘est of Borro\ret‘” means atty party thttt' has token titie to the Property, whether or not that party hac
assumed Borrowet‘s obligations under the Noto anchor this Secun`ty Instruntcnt.

'l'RANSFER OF lL[GHTS lN 'l`I-IE PRO?ER'I’Y

Thir. Sccurity lastrnrncnt secures to I,endcr: (i) the repayment ol` the i.oan, and all renewals extensions and modilicotions of the

Note; and (it) the performance of Bormwer's covenants and agreements under this Sccurity Instrnmcnt and the Note. For this

purpose, Borrower does hereby mortgage grant and convey to MERS {soleiy ns nominee for Lender and Lcrn!er's successors and

assig\s) and to the successors and assigns of MERS. with power of sate. the following described property located in the
COUN'I’Y of OKIMONA ` :

f`t’ypc ochronling Juri::cliction] [Natne ot`Rcconlittg .l’urisdiction}
LCJ’I' E'IVE (5) , IN BLOCK THIR'I‘Y-ONE {31) , IN RAMBLING ACRES, BECTION 3, AN ADDI'I'ION ‘.t‘O

OKLAHOMA CI'X'Y, OKL.AHOMA COUNTY, GK[»AHOMA, ACCOR.¥JING 'IU THE RECORDED PLAT THEREGF.

Parccl lD Nttntbcr: 14941‘?540 which currently ltas the address of
8804 TR.ACY DRIVE, OKLAHOMA CITY
[StrcettCity}
Okialtornn 73 132 -1069 ("i’roperty Addr§s"):
[?.ip coast

TOGI:."I`HER Wi'I`H alt the improvements now or hereafter erected on the ptoperty, and all easements appurtenances and
fixtures now or hereafter a part of`tltc property All replacements and additions shall also be covered by this Security Instrurnent.
r\ll ofti)e t"crcgoing is referred to in this Seeurity instrument as the “Prcpcrty." Borrowcr understands and agrees that MERS holds
only Zegat title to the interests granted by Bon'ewer in this Sccarity instntment, bur, if necessary to comply with law or custcnt,
MERS (as nominee for sender and Lcnder's successors and assigns} has the right: to exercise any or all of those iuterests,
including, burnet limited to. thc right to foreclose and se£[ the Prcperty; and to take any action required of l`.cnder ineluding, but
not limited to, releasing and canceling this Securitylastrumenr.

BORROWER C`OVENANIS that Borro\\'er is lawfully seised of the estate hereby conveyed and has the right to mortgage
grant and convey the Property end that the Property is unencumbered, except l`cr encumbrances ofrecord. Bcrro\ver warrants and
will defend generally the title to the Property against all claims and demands subject to any encumbrances ofrecord.

'i’l<l.iS SECUR!'{'Y iNSTRUMEN'F combines uniform covenants for national use and non-uniform covenants Wiiit limited
variations byjnrisdietion to constitute a uniform security instrument covering real property

UNIFORM COVENANFS. Borro\ver and t..cnder covenant and agree as follo\vs:

1. Paymcut of Pt'ineipat, Interest, Eserow Items, Prepaymeut Cltarges, and Late Cttrtrges. Bon‘ower shall pay when
due the principal of. end interest on, the debt evidenced by the dicta and any prepayment chatch and late charges due under the
Notc. Bon‘uwer shall also pay funds for Escrow items pursuant to Scctica 3. Paymcnts due under the Notc and this Security
Instrutncut shott he made in U.S. currencyl l-[owever, if any check or other instrument received by Lender as payment under the
the or this Security instrument is returned to i_.ender unpaid L.ertder may require that any cr oil subsequent payments due under
the Notc and this Seeurity lnstrarnent be mode in one or more of the following forms, as selected by Lcndcr: (a.) cash; {b} money
order: {c) certified check, bank check, n'casurcr`s check or cnshict’tt check. provided any such check is drawn upon an institution
whose deposits are insured by a federut agcncy, instrumentality, or entity; or (d) Elcctronic Funds 'i`ransi`er.

CKLAHDMA-Singto Famlly-Fannlo MaulFroddlc Mac UM|FORM lNSTRUMEN'i' (MERS) Fom't 303'»" 1!01 (tov. 1203

MERS Mortgage~OK
EOGGA¢OK iUBIDB] Page 2 of 9

 

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CASE ill LAPSlslGos?aaS€ DCC lD itt 000242467‘?8906012

i'aymcms are deemed received by Lertder when received at the location designated in the Note or at such outer location ns
may be designated by Lendcr in accordance with the notice provisions itt Scction t$. Lenrler may return any payment or partial
payment if thc payment or partial payments arc insufficient to bring the Loan cun'onr. Lentlcr may accept any payment or partial
payment insuffician to bring the l_oan current, without waiver of any rights hereunder or prejudice to its rights to refuse such
payment or partial payments in the futttre, but Lcntlcr is not obligated to apply such payments at the time suelt payments arc
accepted if each Pcriodic Payment is applied ns o£` its scheduled due date, then bender need not pay interest on uanpplied funds
l..endur may ltoid such unapplicd funds until Borrowor makes payment to bring the l.o:m ourrcnt. ll’Bon'owcr does not do so within
a reasonable period oftime, l..cndcr shall either apply such funds or return them to Bcrrowcr. if not applied ecrlicr. such funds will
be applied to the outstanding principal balance trader the Notc immediately prior to foreclosure No offset or claim which
narrower might have now or in tire future against l..cnder shall relieve Borrower from making payments due under the Ncse and
this Security lnttrument or performing the covenants and agreements secured by this Seeurity lrunmr'nent.

2. Applicaticn ol‘ Pnymcnts or Proeeeds. E)tt:cpt as othcnvisc described in this Section 2, all payments accepted and
applied by Lendcr shall bc applied in the following order of priority: {a) interest due under the Norc; (h) principal due under the
Note; {c} amounts due under Scction 3. Sttclt payments shall bc applied to each Periotlie l’ayment in the order in which il became
duc. hay remaining amounts shall be applied lirst to into clta@cs. second to any other amounts due trader this Security instrumth
and then to reduce thc principal balance of lltcNotc.

ll’ Lcttdcr receives a payment from Borrowcr fora delinquent Periodic Paymcnr which includes a sufficient amount to pay
any lnlc Chargo duc, the payment may bo applied to lite delinquent payment and Iltc late eltargc, ll` marc than one Pcriodic l’uymcnl
is outstanding Lcnder may apply any payment received from Borrower to thc repayment of the l’eriodic Payments ill and to the
extent tital. each paymeutean bo paid itt l`u|l. 'l`o tire extent that any excess exists after the payment is applied to the full payment
ol' ono or more Periodic Paymeuts, such excess may be applied to any late charges due. Voiuntary prepayments shall bo applied
iirst' to any prepayment charges and then as described in lite l\lotc.

Any application ot`payments. insurance proceeds, or Miseu|laneous Proeeeds to principal due under the Notc shall not extend
or postpone the due datc, or change the amounr, oi`dte Pcriodie l'aymcnts.

3. Ftutds for Escrow itcrns. Borrower shall pay to Lcudcr ott the day Poriodic Payments are due under the Notc. until the
Note is paid in foll. a sum (thc "Funds") to provide for payment of amounts doc for: {a) taxes and assessments and other items
which can attain priority over this Socut‘lly instrument as illicit or encumbrance on the Properi.y', {b) leasehold payments or ground
writs 011 llif= PIOPGFE}'. il" 1153/l (C) premiums 'l`or any and all insurance required by bender under Section S; and (d) Mortgagc
Insttrancc premittms, ii nny, ur any sums payable by Bort'owcr to Lendcr in lien of tltc payment of`Mo:tgage institution premiums
in accordance with the provisions ui` Saetion iG. 'l`ltcsc items arc called “E_serow ltents.” At origination or at any time during the
term of thc l.oan, Lcttclcr may require that C'ommttnity Associution Dues, Fccs, and r\ssessments, if ony. bc escrowed by
Borrower. and such dues, fees and assessments shall bc an Est:row ltcm. Borrowcr shall promptly litmislt to Lcuder all notices of
amounts to bc paid under this Scelion. Bol‘rowct‘ Simll pay T_.cttdcr lite Ftrnds f`nr Escrow items unch I_cndcr waives `l?.orrowcr's
obligation to pay the Furu:is for any or all Escrow ltcms. I.eodcr may waive Borrowet’s obligation to pay to Lcrtdcr i'-`nnds for any
or all £serow items at any tintc. r\ny such waiver may only be in writing. [n the event of such waiver. Botrower shall pay direct|y,
when and where payable. the amounts due for any Esorow `hcms for which payment of Fttnds has been waived by Lendcr nnd, if
Lettder rcquircs, shall furnish to Letltl¢t‘ receipts evidencing such payment within such time period ns Lt:nrler may requirc.
Borrower’s obligation to make such payments and to provide receipts shall for tell purposes be deemed to be c covenant and
agreement contained in this Sccttt'ity instruman as tltc phrase "covcnant and agreement” is used in Sct:titm 9. iii Borrowcr is
obligated to pay Escrow treats directly, pursuant to a wai\'cr. and Borrower fails tn pay the amount due for an Escrow item, bender
may exercise ita rights under Scctiou 9 and pay such crttourtt and Borrower shall thcu be obligated under Scclion 9 to repay to
Lcncler any such amount Lcttdcr may revoke the waiver as to atty or all Escrow items at any time by n notice given in accordance
with Soction 15 ontl, upon such revocation, llort~ower shall pay to bender all Ftntds. and in such ctnounts, that arc then required
under thin St:ctiort 3.

i_.ertdcr may, tll. atty titt‘te, collect and hold hands in art amount (a) sufficient to permit Lcnder to apply thc `Fuutls at the time
specified under RESI’A. and (i)) not to exceed the maximum amount a lender can require under ltESP/\. Lender shall estimate the
amount of Fulttl$ due cu the basis of current clara and reasonable estimates of expenditures of future Escmu.' items or otherwise in
accordance with Applicablc l_,aw.

'I'itc Funds shall lie hold in nn institution whose deposits nrc insured by n federal agency, instruntcmality, or entity (including
Lentler, il` Lcndcr is an institution whose deposits are so insurcd] or in any cheral l-lomc l..oan Baulr. Lendor shall apply thc Funds
to pay the F,scrow items no later than the time specified under RES£’A. Lcudcr shall not charge Borrower for holding and applying
the Funtls, annually nnalyzlng the escrow cccount, or verifying lite liserow items, unless Lender pays Borrower interest on the
Funds and Applicehlc Law permits Lendcr to make such a charge. Unless on agreement is made in writing or Appiiccble Ln\v
requires interest to be paid on the Funtls, Lender shall not he required to pay Borro\t'er any interest or earnings on the Fands.
Burrowcr and Lcuder can agree in Wriling, howovcr, that interest shell bc paid on the Funds. `Lcntier shall give to Bormwcr,
without ehargc, on annual accounting of the Fuocls as required by RESPJ’L

if there is n surplus ofFunds held in escrow, as destined wider RESPA, Loudcrshall account to Borrowcr for the excess funds
in accordance with RESPA. [E' there is o shortage of Funds held in cscrow, ns defined under I{ESPA, Londer shall notify Bort'owcr
as required by RESI’A. and Borrower shall pay to Lender tire amount necessary to stake up the shortage in accordance with
l{ESPA. but itt no more titan l2 monthly payntcnts. if there is a deficiency of Funds boldin cscrow, as defined under RESPA.
Lcndcr shall notify Burrowcr as required by RESPA, and Borrowcr shall pay to l.ender the amount necessary to make up thc
deficiency in accordance with RESPA, but in nn more than 12 monthly payments

Upott payment in full afall sums secured by this Se€ttr'tty ltlslrumont, Lcuder shall promptly refund to Horrowcr any Ftlttds
held by l.endor.

4. Clt:trgcs; Lleus. Borrower shall pay all taxcs, assessrttems, charges, lines. and impositions attributable to the l’ropcrty
which cort attain priority over this Sccut'ity lnst.rurnent, leasehold paymean or ground rents on the Propcrty1 ii` any, and
Cnmmunt'ty Association Dncs, Fecs, and Assensmcnts, if any. To the extent that those items arc Escmw ttams, Borrowcr shall pay
them iu the manner provided in Scction 3.

Bot~ro\ver shall promptly discharge any lion which has priority over this Sccurity Instrurncrtt unless Borrowcr. (a) agrees in
writing to the payment of the obligation secured by the lien in a manner acceptable to l_.cnder, but only so long ns Borrowcr is
porfomaing such agreement {_b) contests the lien in good faith by, or defends against enforcement of the lien in. legal proceedings
which in Len<lor's opinion operate to prevent the enforcement ol' the lion while those proceedings are pondiag. but only until such

OKLAHDMA-Singlu Fct'rtiiy-Fanrtlo MoelFroddlo Mttc UNh’-°ORM INSTRUMENT (MERS} Form 3037 1101 (rov. 12.'03}

MERS Mortgagn-Ol<
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proceedings nrc ccncluded: or (c) secures from the holder of the lien nn agreement satisfactory to bender subordinating the lien to
this Sccurity lnst.ulnu:nt. if Londcr determines that any part of thc Properly is subject to a lieu which can attain priority over this
Seeurity lnstrumunt, Leuder may give Elorrower a notice identifying the lien. Vv'ithitt lll days of the date on which that notice is
given, Borrowcr shall satisfy the lieu or take one or more of the actions set torth above in this Scctiou 4.

Lendcr may require Borrotvcr to pay n otte-time charge for a real estate tax verification anchor reporting service used by
l.endet' in connection with this Loan.

5. Pt'eperty Insurnuce. Borrower shall keep the improvements now existing or hereafter erected on the l’nopcrty insured
against loss by firc, hazards included within the tenn “extended coveragc.“ and any other hazards including, but not limited to,
earthquakes and fioods, for which I.ender requires insurance This insurance shall be maintained in the amounts (including
deductible §cvcls) and for the periods that i'..endct' roquircs. What Letnler requires pursuant to the preceding sentences can change
during the term ol`the ].,onn. 'l`ltc insurance carrier providing lite insurance shall be chosen by Borro\versubjcct to Lendefs right to
disapprove Borrn\ver's choieo, which right shall not he exercised unreasonably Lender may require Borrower to pay, in connection
with lbe Loutt, citltcr: {a] tt one-time charge for flood zone dch:rmittutiou, certification and trucking Scrvict:$: or (b) a one-lime
charge for iiootl zone determination and certification services and subsequent charges each time rcmappings or similar changes
occur which reasonably mi ght affect such determination or ccrtll`tcarion. Borrotver shall also be responsible E’or lite payment of any
fees imposed by the chcral Entergoucy Managet‘ncut Agcncy in connection with the review of any flood zone detenninntion
resulting from an objection by Borro\vcr.

lt"Borto\vet l`ails to maintain any ot` the coverages described abovc, bender may obtain insurance coverage, at Lenclcr‘s option
and Betrowot's expense Lendcr is under no obligation to purchase any particular type or amount of coveragel 'l`heteforc. such
coverage shall cover Lender, but might or might not protect Botrower, Borrower‘s equity in the Ptoperty, or the contents of the
Property. against any risk. hazard or liability and might provide greater or lesser coverage titan was previously in el't`cct. Hotrower
acknowledges that the cost of the insurance coverage so obtained might significantly exceed the cost of insurance that Berrowcr
could have obtained Any Muouns disbursed by Lcnclct under this Scction 5 shall become additional debt of Borrower secured by
this Socurity Instrument. 't'itesc amounts shall bear interest at the Notc rate from the date ol" disbursement end shall he payable
with such intorest. upon notice i`ront I.cndcr to Berrower requesting paymeut.

All insurance policies required by l.eu<ler and renewals of such policies shall be suhjccrto l.cudcr's right to disapprove such
polieios, shall include a standard mortgage cluusc, and shall name Lender as mortgagee and!oras art additional loss payee. Lender
shall have the right to hold the policies and renewal certificates if bender rcquircs, Borro\ver shall promptly gch to Lcncler nil
receipts of pnicl premiums and renewal notices. if Borro\vcr obtains any l`omt of insurance co\ter:u,'cl not otherwise required by
l.ender,'l`or damage to, or destruction ol’, the Property, such policy shall include a standard mortgage clause and shall name Lcnder
us mortgagee nnth'or as on additional loss payec.

in the event of loss, Borrmvcr shall give prompt notice to the insurance carrier and Lertdcr. bender may make proof of loss if
not made promptly by Borrower. Unless l.,euder and Borrower otherwise agree in writing, any insurance proceeds, whether or not
the underlying insurance was required by Lendcr. shall be applied to restoration or repair ol` the Property, il` the restoration or
repair is economically feasible and bentler security is not lessened During such repair and restoration period, Lendcr shell have
the right to hold such insistence proceeds until Lendcr has had an opportunity to inspect such Property to ensure the work has been
completed to Lcndcr's satisfaction provided that such inspection shall be undertaken promptly Lender may disburse proceeds for
the repairs and restoration in n single payment or in a series of progress payments as the work is completed Unlcss nn agreement is
made itt writing or Applicahle Lruv requires interest to he paid on such insurance proceeds, I..ender sltnii not be required to pay
1301-tower any interest or earnings on such proceedsl liens for public udjnsters, or other third pnrties, retained by Bort'owcr shall not
he paid out of the insurance proceeds and shall be the sole obiigntion ol`Borrower. ll’ the restoration or repair Is not economically
feasible or Leuder's security would be lessened the insurance proceeds shall be applied to tito sums secured by this Scenrity
lmtrumeut, whether or not then tlue. with the expose if uny, paid to Botrowct'. Sttclt insurance proceeds shall be applied in the
order provided for iu Scction 2.

li`Borrowcr abandons thc Propcrty, Lcudcr may iilc, negotiate and settle any available insurance claim and related tnalters. li'
Borrower does not respond within 30 days to a notice from bender that the insurance carrier has offered to settle a claim. then
Lender may negotiate end settle the claitn. 'Ilte 250-day period witt begin when the notice is given ln either cvent. ot if bender
acquires the Property under Seetion 22 or otherwisel Borro\ver hereby assigns to L.ender (a} Borrower's rights to atty insistence
proceeds in an unsount not to exceed the amounts unpaid outletl the Note or this Seeurity instrumth and (b) any other ot`
Bortowcr‘s rights father titan the right to any refund of uucatued premiums paid by Borrowet'} under all insurance policies
covering the Property. insofiu' us such rights arc applicable to thc coverage ol" the Propcrty. Lc-rtdcr may usc the insurance proceeds
either to repair er restore the Propcrry or to pay amounts unpaid under the Note or this Sccurity lustmrnenr. whether or not then
tlue.

6. Occupancy. Bort'o\ver shall occupy, establislt. and use the Property as Bortower‘s principal residence within 60 days
after thc execution ot` this Security Instt'ument. and shall continue to occupy the l'ropetty as Borro\ve:’s principal residence l'or at
least one your alter the date ot` oecupancy, unless Lendcr otherwise agrees in writing_ which consent shatl not he unreasonany
withheld or unless extenuating circumstances exist which are beyond Borrowcr's control.

7. Presmation, Maiuteuanee and Pt‘oteet.ion of the l’roperty; Iuspeetioas. Borrowcr shall not destroys damage or
impair the l’ropcny, allow the i’roperty to deteriorate or commit waste on the Property. ththcr or not Borrower is residing in the
Property, Bcrtower shott maintain the I’roperty in order to prevent the Property trout deteriorating or decreasing in value due to its
condition Unlcss it is deteunlned pursuant to Scctt'ou 5 that repair or restoration is not economically Eeasiblc, Berrower shall
promptly repair the Propcrty ll' damaged to avoid further deterioration or damage if insurance or condemnation proceeds are paid
in connection with damage to. or the taking ol'. thc i’ropeny_ Borrowcr shall he rcsponsibte i`or repairing or restoring thc property
only il` Loutler has released proceeds for such purposes Lendcr may disburse proceeds for the repairs and restoration in a single
payment or in n series of progress payments as tire work is eornplctcd. If the insurance or condemnation proceeds are not sufficient
to repair or restore the Property. Borrower is not relieved et'Borrower‘s obligation Eor the completion of such repair or restoration

`£.entlcr or its agent may make reasonable entries upon and inspections of the Pt'opet'ly. ifit has reasonablc muse Lender may
inspect the interior of the improvements on lite Fropetty. tender shott give Borrower notice at thc time ol" or prior to such an
intorioriuspcction specifying such reasonable causc.

8. Borrovtcr's Lonn Applicutiort. Borrowcr shall be in default if, during the Lonu application process. BOrrthCr Or any
persons or entities acting at thc direction ot`Borrtower or with Borrowet*s knowledge or consent gave materially l'alse. misleading
or inaccurate information or statements to Londer (or failed to provide Lcndcr with material inforrnatt`on] in connection with the

 

QKLAHDMA-S|ngls FSmiiy-thrtio ME\Q}FrthiO Mao UNEFDRM lNSTRUMENT {MERS) Form 3037 1101 (rov.12i|]3)

MERS Morlgage»Gi<.
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CASE ll: anSlslsosvless Doc .rD tit ooozezes'r'rasoser.z
Lcan. Marerial representations includc, but ace not limited tt), representations consuming Botacwcr‘s occupancy ol` the Properly us
Borrovvcr's principal residence

9. Protet:t'ion of Lender's luterest fn the Property and Rights Undcr this Securlty Instrtrment'. Il`(a) Borrower fails to
perform lite covenants and agreements contained in this Security lustiument, (h) there is n legal proceeding that might significantly
affect Lender‘s interest in the Property a.nd!cr rights under this Sccurity Instrament (seelt as a proceeding in bankruptcy probate
for condemnation or forfeiture for enforcement cfc lien which may attain priority over this Security lnstrtimeur or to enforce laws
or rcgulntions), or (c) Borrotver has abandoned the Preperty, then I.cnder may do and pay for whatever is reasonable or appropriate
to protect I.ender‘s interest in the Propcrty and rights under this Secttrity instrument including protecting and}or assessing the
value ol` the Prcpet“ty. and securing and/or repairing the Prepcrty. Lender's actions can inelucls_. but arc not limited to: £a} paying
any sums secured by n lien which has priority over this Security lnstrumcnt; (l)§ appearing in court; and [c) paying reasonable
attorneysl fees te protect its interest in the Property and/or rights under this Seeurity instruan including its secured position in a
bankruptcy proceeding Secuc~ing lite Propcrry includon. but is not limited to, entering the Propcrty to make repairs, change locks.
replace or board up doors and \vindotvs. drain water front pipcs. eliminate building or other code violations or dangerous
conditions and have utilities tutned on or ot`l'. Although Lenderm:ty take action under this Sectioa ‘), Leadet' does not have to do
so and is not under any duty or obligation to do so. lt is agreed that Lcndcr inonts no liability For not taking atty or all notions
authorized under this Scction 9.

Any amounts disbursed by Lender under this Section 9 shall become additional debt ol`Borrowcr secured by this Security
lnstrument. 'l`hese amounts shall bear hitcrest at the Note rate front the date ct’ disbursement ttnd shall be paynble, with such
lntercst, upon notice l’rorn Lender to Bon'ower requestingpayment.

if this Sccericy lnstruruent is on a lenseholti, Boirotver shall comply with all the provisions of the lease. IfBorro\vcr acquires
fee title to the Property, the leasehold and the fee title shall not merge unless Lentler agrees to the merger in writing.

ill. Mortgnge lasnrauce. lf Lender required Mortguge insurance as a condition ol`rtwlcing the Loan, Borrcwer shall pay
the premiums required to maintain the lvlortgagc insurance in clieet. ill l`t)r any reasnn, the Mortgage lawrence coverage required
by i.endet‘ ceases to be available from the mortgage insurer that previously provided such insurance and Borrotvervras required to
make separately designated payments toward the premiums l`or lvlot'tgugo lusurunce, Bnrmwer shall pay the premiums required to
obtain coverage substantially equivalent to the Mortgage insurance previously ia effect. ot a cost substantially equivalent to the
cost to Borrotver of lite Mortgngc Insurttnce previously iu efl"ch, from an alternate mortgage insurer selected by Lender. I‘l"
substantially equivalent Mortgage insurance coverage is net available Borrowcr shall continue to pay to Lcnder the amount of the
separately designated payments that were due when the insurance coverage ceased to be in el"f'ccr, l'_cnder will ncecpt, use and
retain these payments as n non-rehmdttblc loss reserve in lieu oth/tonnage lnsnrance. Snch loss reserve shall be non-refundable
notwithstanding the fact that the l.oan is ultimately paid in l`ull, and Lender shall act itc required to pay Botrcwer any interest or
earnings on such less reserve tender can no longer require loss reserve payments if Mortgoge Insnrauce coverage tin the amount
end for the period that Lcndcr rcquirw) provided by att insurer selected by Lentlcr again becomes available is obtained, and
lender requires separately designated payments toward the premiums for Mcrtgage insurance if Leuder required Mortgago
insurance ns a condition of making the Lcnn and Boncwer was required lo make separately designated payments toward the
premiums for Mortgago Insurauce, Borrower shall pay tire premiums required to maintain Mortgnge insurance in effeet_ or to
provide a non~rel`undnblc loss reserve, until l_,endei‘s requirement for Mortgoge institutth ends in accordance with any written
agreement between Bcrrower and Lender providing Fcr such termination or until termination is required by Applicabfc l.ew.
Notl:ing in this Section lO affects Borrower's obligation re pay interest at tire rate provided in the Note.

Mortgngc insurance reimburses l.ender [er any entity that purchases the Note) lbr certain losses it may incur if Borrc\ver
does not repay the Lcan as agrectl. Borrotvet' is not n party to the Mortgagc insurance

Mortgage insurers evaluate their total risk en all such insurance in t`orcc flom time to titne, and may enter into agreements
with other parties that share or modify their risk, or reduce lessee These agreements are on terms end conditions that are
satisfactory to the mortgage insurer and the other party (nr partics) to these agreements 'I`hesc agreements may require the
mortgage insurer :o make payments using any source of funds that the mortgage insurer may have available {whlch may include
funds obtained from Mortgagc insurance premiu.ms). '

As n result or` these agreements Leuder, any purchaser of the Notc, another lnsnrer, nay reinsurer, any other cntity, or any
affiliate of any ol' the foregoing may receive {tlirectly or indirectly) amounts that derive from (or might he characterized as) tt
portion ol' Bo\‘rosver’s payments for tviortgay,c instructed in exchange for sharing or modifying the mortgage insurers risk, or
reducing losscs. ll such agreement provides that an afiiliate of Lcndcr takes n share ofthc iratnrer's risk in exchange for n share of
the premiums paid to thc insurer. the arrangement is often termed "captivercinnurancc." Fartlter:

(:t) Any such agreements will not olfcct the amounts that Borrcwer has agreed to pay for Mortgage Insuraaee, or
any other terms cf the Loan. Such agreements will nut increase the amount narrower will owe for Mortgage Insurance,
and they will not entitle Borrower ta any refund.

(b) Any such agreements will net affect the rights Bcrrewcr has ~ if any »~ with respect to the Mortgngc Iusur:tnce
under the Homeowners Prateetitm net of 1998 or nay other taw. 'i‘hese rights may include the right to receive certain
disclosures to request and obtain cancellation of tire Mortgnge Insurance, to have the M‘ortgage Insurance terminated
lm*°mnli€¢llll', and/or to receive a refund of any Mortgage lawrence premiums that were unearned at the time of such
cancellation or termination.

ll. Assignment of Miscellaneous Proceeds; Forfeiturc. All Miseeilcueons Procceds are hereby assigned to and shall bo
paid re Lcnder.

ff the Ptoperty is damaged such Miseel]ancou$ Procceds shall be applied to restoration or repair ol’ the Property, if the
restoration or repair is economically feasible and i,cnder's security is net lessened During such repair and restoration pcriod.
l..entler shall have the right to hold such Miscellaneous Ptocouds until l'..endet' has had en opportunity to inspect such Propcrty to
ensure thc work has been completed to Lcnder‘s satisfaction provided that such inspection shull be undertaken promptly. l'_.euder
may pay l`or the repairs and restoration in a single disbursement erin n series of progress payments as thc work is completed
Unless an agreement is made in writing or Applieablc Law requires interest to be paid on such Miscellaacous Procccds. l..endcr
shall not be required to pay Bcrrower any interest or earnings on such Mlscc$lcneons Procecds, lf the restoration or repair is not
economically feasible or Lendcr's security would be lessened, the Miscellaneous l?roeeeds shall be applied to the sums secured by
this Socut~ity fuscumenr, whether or net then due, with the excess, if`any, paid to Borrowet~. Such Miscellancous Prcceects shall be
applied in the order provided for in Section 2.

in the event of a total tol<ing, destruction or loss in value ofthc Property, the Miscellcncctts Procecda shall be applied to the

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sums secured by this Seeurity lnstt'ttment, whether or not then due, with the excess` if atty. paid to Bnrrewer_

tn tile event of a partial taking, dcstruetinn, or loss in value of the Propcny in which the fair market value ot‘ lite Property
immediately before the partial taking. destruction, or loss in value is equal to or greater than the amount of" the sums secured by
this Secutity instrument immediately before the partial taking. destruction, or loss in valuc. unless I.’»orrower and Lender otherwise
agree iu writing the sums secured by this St:curity instrument shall be reduced by the amount of tile Miscellaneons l*roceeds
multiplied by the following fraction: (a} the total amount ol' the sums secured immediately bcibrc the partial tnlting_ dosrroctiou, or
loss in value divided by (b) the Feir market value of the l’roperty iounediatcly before the partial talting, destruction or loss in
value. Any balance shall be paid to Bon'o\vcr.

tn the event ol` c partial taking dcstntction, or loss itt value of the Propetty in which the fair market value of the Propeny
immediately before the partial taking, destruction or loss in value is less than the amount of lite sums secured immediately before
tile partial takittg. tlestructiot\, or loss in value, unless Bot’rower and l.cttdcr otherwise agree in tvriting, the Misccllnneous Procecds
shall be applied to the sums secured by this Security lnstrurncnt whether or not lite sums are then dne.

ll'tln: Pruperty is abandoned by Borrotver. or il`, n£l.er notice by Lender to Borro\vcr that the Opposing Party (as defined in the
next sentence) offch to make an award to settle a claim for damagos, Borrower fails to respond to Lenrler within 30 days alter the
date the notice is givcn, bender is authorized to collect and apply the Miscellancous Procect|s either to restoration or repair oi`tlte
l’ropen.y or to the sums secured by this Sccttrity lnstt'nntenl, whether ornot then due. "Opposlng l’nrty" means the third party tltat
owes Borrower Misrellrtneotu Proceeds cr the party against whom Borrowcr has a right ol` action in regard to Miscollancous
Froceeds.

Borrowcr shall be in default ifuny action or proceeding whether civil or criminal, is begun tltat. in Lendcrsjttdgtnettt, could
result in forfeiture of the Pt'opcrty or other material impairment ol` Lcndcr's interest in the Property or rights under this Secnrity
lnstrumcnt. Borrowcr can cure such adel`ault ond, if acceleration has occurretl. reinstate as provided in Sectlon l9, by causing lite
action or proceeding to be dismissed with n ruling than in l_.cnder's judginent. precludes forfeittne ol“thc Propcrty or other material
impairment of lenders interest in the Property or rights under this Secnrity lostnmtent The proceeds ol` any award or claim for
damages that are attributable to the impairment ol’T_cztdcr's interest in the Propcrty arc hereby assigned and shall be paid to Lendor.

A|l Miscellancous Ptocccds that ore not applied to restoration or repair of lite Propcrty shall be applied in the order provided
for in Scction 24

12. Borrotvcr Not Relcasct.l; Forbearunce By Lendcr Not a Waiver. Exteusion of` thc time for payment or modification
of amortization of the sums secured by this Se€uxity ln.strutnent granted by l_ender to Borrower or atty Sttcces.'tor in interest of
Borrotver shall not operate to release the liability ot` Ben'o\ver or atty Snceessors in lnterest ol` Borrower. Lcndcr shall not be
required tc commence proceedings against any Successor itt interest of Borrowcr or to refuse to extend time l`or payment or
otherwise modify amortization ol`tlte sums secured by this Sccurity Insrt'utucnt by reason of any demand made by the original
Borrower or any Sncccssors la lnterest of Bct'rowet'. Any forbearance by Lender in exercising any right ot' remedy including
without limitation. Lcnder's acceptance of payments from third persons. entities or Suecessors in Iatcrest of Borrowcr or in
amounts less than the amount then tlue, shall not be a waiver ofor preclude the exercise cl" any right or remedy.

13. .l’olut and Sovcr:tl Lisbility; Co-signers; Snecessors and r\ssigns Bottrttl. Borro\ver covenants and agrees that
Borrower's obligations and liability shall bejoint and severall Hmvevcr. any Bortowcr who crt-signs this Security instrument but
does not execute the ‘Note (a “co~signel“'lt (a) is co'sigrting this Securlty instrument only to mortgage grant and convey the co-
signet“s interest in the Propetty under the terms of this Secttrity Instrurncnt; (b) is not personally obligated to pay the sums secured
by this Sccurity instrument and (c) agrees that l..endcr and any other Borrowcr con agree to extendl modii'y, forbear or make any
accommodations with regard to the terms ol’ this Sceurity Instrttntent or the Note without the co~signer’s consenl.

Subj act to the provisions ot`Scetion 18, any Successor in interest ot` Borrnwer who assumes Borrower’s obligations under this
Sccuriry Instnnttcnt in tvritirtg, and is approved by i`..endet', shall obtain all of Borrower's rights and benefits under this Security
lnstmmcnt. Eorrower shall not be released from Borro\vcr's obligations and liability under this Sccurity lustntmertt unless Lcnder
agrees to such release in tta~iting. 'l`he covenants and agreements cf this Security lnstrurnent shall bind {except as provided in
Sectlon 20) and benefit the successors and assigns ol`l.endcr.

14. Loan Chnrgcs. Lendcr may charge Bon*owcr fees for services performed in connection with Borrowcr‘s del`nult, for the
purpose oi" protecting Lendcr‘s interest in tlte Propcrly and ri@ts under this Secttrity lnst.rttntertt, ineludlng, but not limited to,
attorneysr fees, property inspection and valuation fees. ln regard to any other fecs, the absence of express authority in this Secutity
Instmtncnt to charge a spceit‘rc fec to Bctrowcr shall not be construed ns n prohibition on the charging of such §ee, lender may ncr
charge fees that are expressly prohibited by this Security Insttnmcnt or by Applicablc l.:tw.

lt" the Lo:tn is subject to a law which sets maximum loan charges, and that law is finally interpreted so that the interest or
other loan charges collected or to be collected in connection with the Lonn exceed the permitted limits. thon; (o) any such loan
charge shall be reduced by the amount necessary to reduce the charge to the permitted lintit; and (b} any suan already collected
front Botrower which exceeded pennittcd limits will be refunded to Borntwcr. bender may choose to make this refund by reducing
the principal owed under the Note or by making n direct payment to Borro\ver. Il` a refund reduces principnl. the reduction will be
treated ns a partial prepayment without any prepayment charge {wltethcr or not n prepayment charge is provided l`or under the
NOE¢)- BOn‘owcr's acceptance ct‘ any such relittxtt tuttdc by direct payment to Borrowcr ivill constitute a waiver oi‘ any right of
action Borrower might have arising out of such ovcrcltargc.

15. Notices. All notices given by Borrowet or Lcrtder itt connection with this Sccurity instrument must he in \vriting.
Except as otherwise required by Appllcohlc I_nw, any notice to Barrower iu contraction with this Security instrument shall be
deemed to have been given to Borrov.'er when mailed by first class mall or when actually delivered to Bon'owct’s notice address il`
sent by other meous. Notice to any one Borrewer shall constitute notice to all Borrnwers unless Applieoblc Lruv expressly requires
otherwise Tl're notice address shall be the Propcrty Addrcss unless Borrotvcr has designated a substitute notice address by notice to
l.cndcr. Bcrrower shall promptly notify lender of Bot'rower‘s change of addressl [l` l..crtder specifics a procedure far reporting
Borro\ver's change cf nddrcss, then Bon'ower shall only report a change of address through that specified procedure There may be
only otte designated notice address under this Socority tustrutncnt ar any one dtnct Any notice to Lender shall be given by
delivering it or by mailingit by first class mall to Leudet"s address stated heroin unless Lender has designated another address by
notice tc Borrower. Any notice in connection with this Sectttity instrument shall not be deemed to have been given to Lendcr until
actually received by Lettder. I'l` any notice required by this Sccurity instalment is also required under Applicable Latv, the
Appllcublc haw requirement will satisfy the corresponding requirement under this St:.curity instrument

16. Govcrnlng Law; Severnbillty; Rules ol` Constructlon. '1`ltls Security instrument shall be governed by federal law and
the law ot' the jurisdiction itt which the Propcrty is located All tigth and obligations contained in this Sceurlty lnstrument are

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subject to any requirements and limitations of Applieablc Law. Applical\|c l.uw might explicitly cr implicitly allow thc parties tc
agree by contract or it might be silent, but such silence shall not bc construed as u prohibition against agreement by contract In the
event that any provision or clause of`this Sccut“ity instrument or the Notu conflicts with Applicnblc La\.v, such conflict shull not
affect other provisions of this Sccurity instrument or the Noto which can be given ef‘l`cet without thc conflicting provision.

ns used in this Sccurily Instrumcnc (a) words ot` tire rnnscnlinc gender shall mean and include corresponding ncotcr words or
words ol'the femiuine gender; {b) words in the singular shall mean and include the plural and vice vet'sa; and fc) the word "may"
gives sole discretion without any obligation to take any oction.

17. Borrowcr's Copy. Borro\ver shall be given one copy ol'dtc Notc and ofthis Security lnstrument.

18. Transter of the Property or o Beueficial Interest in Bot'ro\vct'. As used in this Scction 18. “lntercst in the Property"
means any legal or beneEciol interest in the I’toperty, including. but not limited to. those beneficial interests transferred in a bond
i'or dc:cd, contract for dccd. installment sales contract or escrow agreement, the intent of which is the transfer of title by Borfo\ve¢'
at a future date to a purcttze;cr.

If all or any port of the Propcrty or atty interest in the Pt'opcrly is solder transferred (or if Borruwcr is not a natural person
and a beneficial interest in Borrower is sold or transferrctl} without Lcndsr's prior written conscnt, bender may require immediate
payment in full of all sums secured by this Sccurity instrument l»iowever. this option shull not be exercised by I_eodcr if such
exercise is prohibited by Applicable Lrnv.

if I.endcr exercises this optioa, Lcnder shall give Borrowcr notice of acceleration 'l'hc notice shall provide n period ol" not
less titan 30 days from tire date the notice is given in accordance with Scetion l5 within which Bnrrowcr must pay all sums
secured by this Sccurity lustrumerrt_ lf Borrowcr fails to pay these sums prior to tltt: expiration of this petiotl. Lcttclcr may invoke
any remedies permitted by this Security Instrument without further notice or demand on Bon'ower.

19. Bcrrowcr's flight to Reiustate At'ter Acceleratien. lf Bon'owcr meets certain eondltions, Borrowcr shell have the
right to have enforcement ol.` this Security instrument discontinued nt any time prior to the earliest of: (u) ich days before sale ol"
the Properl.y pursuant to any power ot` soto contained itt this Sccurity lnstt‘\lmuul; (b) Sttoh other period as Applicnl:)lo T.mv might
specify for thc termination of Borrower‘s right to reinstatc; or (e) entry oi"a judgment enforcing this Sceurity tnstrurncnl. ’.l`hose
conditions are that I-lcrrower: (a) pays Lender all sums which then would be due under this Socurity instrument and the Notc us if
no acceleration had occurred; (b) cures any default of any other covenants or agleentcnts; tel pays all expenses incurred in
enforcing this Security instrument includingw but not limited to. reasonable attorneys fccs, property inspection and valuation 'f‘ccs.
and other fees incurred for the purpose of protecting Lcndcr‘s interest in tire t'ropcrty and rights under this Sccurity lostrumcnt; and
(d) takes such action ns l_cnclcr may reasonably require to assure that l.,cndct’s interest lt\ the Propcl'ly and rlgl'tl$ under this
Security lnstrutncnt. and Borrowet‘s obligation to pay the sums secured by this Security instrument shall continue unchanged
bender may require that Bcrrower pay such reinstatement sums and expenses in one cr more of the following fortns. as selected by
I.eadert (a} coslt; (b) money ordcr; {c) certified chcclt. bank chcclt, treasurct’s check or cuslticr's check, provided any such check is
drawn upon an institution whose deposits are insured lay a lateral agcncy, instrumentality or cntity; or (d) lilcctronlc Funds
fransl`cr. Upon reinstatement by Borrowcr, this Security instrument and distinctions secured hereby shall remain fully effective ns
ll`no acceleration had occurrcd. Ho\vcvcr, this right to reinstate shall not apply in tire case ol’ acceleration under Scction lS.

20. Scla of Note; Clmnge of Loan Servicer; Nolice et Grlcvanee. ’t'lte Note or a partial interest in the Notc (togetlrcrwitlr
this $ccun'ty tnstrurncnt} can he sold one or more times without prior notice to ttorro\vcr. A sale might result iu a change in the
entity (ltno\vn ns the °`Lonn Scrvicer") that collects l’ct'iodic l-’aytt\cnts due under lite Note and this Securlty ltlstmment and
performs other mortgage loan servicing obligations under the Notc. this Sccurlty lustntrncrv; and Applicahlc Law. Thr:rc also
might he one or more changes ot` the l..oan Scrvicer unrelated to a sale of the Note. if there is a change of thc i_oan Scrt'l€¢l'.
Bot'ro\vct will be given written notice of the change which will state the name and address ol` lite new Loan Scrviccr, the address to
which payments should bc made and any other infonuation RESI’A requires in connection with n notice oftransfcr ol`setviciug. if
the Note is sold and tlterechr the Lontt is serviced by n Loou Servicct‘ other titan the purchaser of the Noto, lite mortgage loan
servicing obligations to Borrc\ver will main with the l..uan Scrviccr cr be transferred to a successor Loan Servicer and are not
assumed by theNotc purchaser unless otherwise provided by tlte Notc purchaser.

Ncititcr Borrowcr nor I.ortdcr may commencc, join, or be joined to any judicial action (a.\; either nn individual litigant or the
member oE`a cluss) that arises from the other perty‘s actions pursuant to this Security Iustrumcnt or that alleges that the other party
has breached any provision of. or any duty owed by reason of, this Scoutity lastturnent. until such Borrowcr or Lendcr has noti§etl
thc other party (wlth such notice given in compliance with the requirements ol`Scction lSl cfsucl\ alleged breach and afforded tlte
other party hereto a reasonable period after the giving ol" such notice to take corrective action. if Applic:tl)lc l,ew provides a time
period which must elapse before certain action cna be taken, that time period will he deemed to be reasonable for purposes cl' this
paragraph 'l'hc notice of acceleration and opportunity to cure given to Eorro\vcr pursuant to So\:tion 22 and the notice cf
acceleration given to Borrowcr pursuant to Scction 18 shall be deemed to satisfy tile notice end opportunity to take corrective
action provisions of this Scction 20.

z`l. Ha:utrdcus Suhstauecs. .As used in this Section ftl: tel “l-laznrdctts Snbstonces" nrc those substances defined as toxic
or hazardous substanccs, poilutants. or wastes lay Environntental Law and thc lullowing snostanees: gasoline ltctosenc. other
flammable or toxic petroleum productsl toxic pesticides end heroicidcs. volatile sotvcnts, materials containing asbestos or
foamuldchyde, and radioactive materials; {'t~:) “aniromnental an" means federal laws and laws of lite jurisdiction where tito
Property is located that relate to lteolth. safety or environmental protection; (c} “Envincnmcotal {'lecnup" incluch any response
action, remedial nction. or removal actiou, as defined la Enviroumcntal Law: and (d) an "Euvitonrncntnl Condition"'mcaos c
condition that can musc, contribute to, or otherwise trigger nn Envi.ronmcntol Clounup.

Borrcwcr shall oct cause or permit Ilte presence use. disposal. storagc, or release ol'ony.l'lezardans Substauccs. or threaten to
release any Hozcrdous Snbstanccs, on or in the l"ropcrty. Borrowcr shall not dc, nor allow anyone else to do` anything adhering the
Propcrt'y (u) that is in violation of any Environutental Lavv, (i)) which creates an Environrncntal C‘ontlition, or {c) tvl)iclt, due to the
presence use, or release of a tiazardous Sul)stauce_, creates a condition that adversely affects thc value cf the Property. ‘I1rc
preceding two sentences shall not apply to lite prescan usc, or storage on the Propcrty of small quantities of Hazatdotts
Substances that are generally recognized to be appropriate to normal residential uses and to maintenance of the Property
(iucludit\g, but not limited ro. hazardous substances in consumer prod uc:s}.

Bort'owcr shall promptly give l.cnder written notice of (a) any investigation cluirrt, denwutl. lawsuit or o|.ltcr action by tmy
governmental or regulatory agency or private party involving the l’ropcn.y and atty l-lazordous Substance or Environmcntal Law of
which Elorrower has dental icnowlodge. {b) atty Er\vironmcntal Conditiou. including but not limited to. any Spilling. icfll<lltg,
disclmrt__r,e, release or threat ot’ release ot`ony l-lnzarrlous Subst.ancc, and (c) any condition caused by the prescncc, use or release of

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a l~Lw\rdous Suhsmocc which adversely affects the value of the l’ropcrty. Ii'Borrowct' learns. or is notified by any govcmmentol or
regulatory authority. or any private party, that any removal or other remediation oi':my H'amr<ioos Substrmce affecting the [*ropetty
is neccssmy, Borrowcr simli promptly take all necessary remedial actions in accordance with E¢wironmcutel an. Nothing` herein
shall create any obligation on bender forum Enviroim\cnlol Cleanup.

NON-U N lZ-`ORM COVENAN‘|`S. Borrower and Lenrler £hrthcr covenant and agree us folio\vs:

22. Acce]er:xtion; Remcdics, Lender shall give notice to 'Borrowcr as required by Appltc~.\irlc Law prior to
acceleration following Bor'rower‘s breach of any covenant or agreement in this Sccurity instrument (bnt not prior to
acceleration under Scetion 18 unless Appllcnblc haw provides otherwiso). Ti:e notice shall specify {o) the dchu!t; (b) the
action required to cure the defaqu {c) a dotc, notiess than 35 days from the date tire notice is given to Borrowcr, by which
the default must bc curcd; (d) that failure to cure the default on or before the date specil`xcd in the notice may result in
acceleration of fite sums secured by this Securify instrument and sale of the I'ropcrty; and (c) any other information
required by Appllcable an. Tltc no!lce shall further inform Borrower ol` thc right to reinstate after acceleration and the
right to bring a court action to assert the t\orL-o)ristcnco oi' a default or amy other defense of Borrowcr to acceleration and
saie. Ii` thc default is not cured on or before the date specified in tire notice, bender itt its option may require immediate
payment in i‘ull of nii sums secured by this Sccurity Instrnn\ent without further demand end may invoke the power of safe
end any other remedies permitted i:»j' Anpilr.oblc Lrtw. frontier shall he entitled so collect oil costs and expenses incurred in
pursuing the remedies provided in this Scclion 22, including, but uot limited to, reasonable attorneys' fees nnd costs of title
evidence

!i‘Lcndor invokes the power ol' sale, bender shall give notice in the manner required by Appiicahle L:tw to Borrowcr
and any other persons prescribed by Appiicai.\io an. bender slmll uiso publish the notice ol`saie, aan the I'ropcrry shall be
sold, as prescribed by Applicnt)lo an. bender er its designee may purchase the Propcrfy at any sale Tho proceeds of the
sale shall be applied in tile manner prescribed by Applicable Low.

23. Reieaso. Upon payment of oil sums secured by ihis Sceurity ius¥roment, Lender shall reiease this Security instrument
Bnrrowe:' shall pay ony recordation costs unless Applicnble Luw provides otherwise Lt‘.nticr moy charge Borrower a fee for
rcicnsing this Sccuriiy lrrsr.r\tmenz. but only ii` the i"oo is paid to n third party for services rendered and the charging oftirc fcc is
permitted under Applicoble Lmv.

24. Woiver of Apprnisement. Appr.iiscmcnt ol` the Property is waived or not waived at Lencier‘s option, which slwil be
exercised before or al the time judgment is entered iu any foreclosure

25. Assumption Fce. ll` there is nn assumption of this loan, i.cndcr may charge nn assumption fee of U.S.
3 aec . 00 .

26. Nofi€c of Power Oi` St\io. A power of sale has been rooted in this Sccurifv InSil.'ulltcllL A ower ofsnle ma allow
the Lendcr to tolle the property and soil it without going to court in a foreclosure action upon default by `Borrower under
this Securitv Instrunicnt.

 

 

BY SIGNING BELOW. Borro\.ver accepts and agrees to the terms and covenants contained in this Security instrument and io
:tny R.ider executed by Bormwor ami recorded with it.

iz_€:-]/ `~_. \/\.) /U:JQ L>"{c>“\?.(seat)

REX L . wISE -Bon'owcr

(Scai)
-Bon'o\vcr

(Scsl )
»B mower

 

(Sc:el)
»Borrowcr

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STATE OF OKLAHOMA, Cuunly ss: _é,
Thc foregoing instrument was acknowledged before me this OH\ U <>Z@/ S»--~' by

 

 

\,¢e\F\’Q/J 35 ;/:”c,/Ag

 

 

 

 

 

Wimcss my hand nnc! seal on this datc.

My commission E):§¢::;L3 /€;Ofc?p_ @ Q/[/§._Q%,/] kg MO</

Now!y I’ub$i¢ U “’

    
     
   
   

CAROLYN S. WEBBER
Notary Puh|ic
Slate of oklahoma
; Gcmmissien # 0201»1728 '
My commission Exp|xes Auo 28. 2014

UKLAHUMA-Single Fam`l$y-F:!rlnlc MaafFraddie Mal.'. UN§FORM |NSTRUMENT (MERS} Form 3037 1101 {ruv. 121'03}

MERS Mortgage-O{{
ZODSA~OK (08!08) Page: 9 of 9

 

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VA GUARANTEED LOAN AND ASSUMPTION
POLICY RI})ER

ltAPSlElSOS"/'BBS€ 7328550]}}` 000242467?8906012
[Caee iii [Escrow/Closing iii iDoc ID iii

NOTICE: THIS LOAN IS NOT ASSUMABLE WITHOUT
THE APPROVAL OF THE DEPARTMENT OF VETERANS
AFFAIRS OR ITS AUTHORIZED AGENT.

THIS VA GUARANTEED LOAN AND ASSUMPTION POLICY RIDER is made this SIXTH

day of JUNE, 2012 , and is incorporated into and shall be deemed to amend and supplement the
Mertgage, Deed of Trust or Deed to Secore Debt (herein "Security lnsirurnent“) dated of even date herewith,
given by the undersigned {herein "Bot'rower“) to secure Borrower's Note to

BANK OF AMERICA, I\T.A.

(hercin '*Lender") and covering the Property described in tile Security histrunient end focated at
8804 'Z`RAC‘I DRIVEI, OKLAHOMA CITY, OK 73132-1069

[Properly Address]

VA GUARANTEED LOAN COVENANT: in addition to the covenants and agreements made in the Security
Instrument, Borrewer end Lender further covenant and agree as follows:

It` the indebtedness secured hereby be guaranteed or insured under '[`itle 38, United States Code* such Title end
Regniations issued thereunder end in effect on the date hereof shall govern the rights1 duties and liabilities of
Borrower and Leuder. Any provisions of the Secnrity Instrumenl or other instruments executed in connection
with said indebtedness which are inconsistent with said Title or Reguietions, inoluding, but not iimited to, the
provision for payment of any sum in connection with prepayment of the secured indebtedness and the provision
that the Lender may acceierat'e payment of the secured indebtedness pursuant to Covenant 18 of the Security
Insnument, are hereby amended or negated to the extent necessary to conform such instruments to said 'l`itie or
Regulalions.

LATE CHARGE: At Lender's opiion, Borrower will pay a “lnte eliarge“ not exceeding four per centum (4%) of
the overdue payment when paid more then fifteen (15) days after the due date thereof to cover the extra expense
involved in handling deiinquent payments but such "late charge" shall not be payable out of the proceeds of any
sale made to satisfy the indebtedness secured `hereby, unless such proceeds are sufficient to discharge the entire
indebtedness and eli proper costs and expenses secured lzereby.

\/A Guerenteed Loan and Assumpticn Po|icy Rider
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GUAR.ANTY: Shonld the Dopartment of Veterans At`f.`airs fail or refuse to issue its guaranty in full amount
within 60 days from the date that this loan would normally become eligible for such guaranty committed upon
by the Department of Veterans Aft`airs under the provisions of '[`itle 38 of the U.S. Code “Veterans Beneiits," the
Mortgagee inay declare the indebtedness hereby secured at once due and payable and may foreclose immediately
or may exercise any other rights hereunder or take any other proper action as bylaw provided

TRANSFER OF 'i'l~lE PROPERTY: This loan may be declared immediately clue and payable upon transfer of
the property securing such loan to any transferee, unless the acceptability of the assumption of the loan is
established pursuant to Scction 3714 of Chapter 37, Titie 38, United States Code.

fin authorized transfer ("assumption“) of the property shall also he subject to additional covenants and
agreements as set forth below:

(a} ASSUMPTION FUNDING FEE: A fee equal
( %) of the balance of this ioan as of the date of transfer of the property shall be payable at the time
of transfer to the loan holder or its authorized agent, as trustee for the Departinent of Veterans Affairs. If` the
assnrnet fails to pay this fee at the time of transfer, the fee shali constitute an additional debt to that already
secured by this instrumenl, shall bear interest at the rate herein provided anti, at the option o'{" the payee of the
indebtedness hereby secured or any transferee thereof, shall be immediately due and payable This fee is
automatically waived ifthc assumer is exempt under the provisions ot`BS U.S.C. 3729 {c).

(b) ASSUMPTION PROCESSING CHARGE: Upon application for approval to allow assumption of this
ioan, a processing fec may be charged by the loan holder or its authorized agent for determining the
creditworthiness of the assnzner and subsequently revising the holder’s ownership records when an approved
transfer is completed The amount of this charge shall not exceed the maximum established by the Dcpartment of
Veterans Afl`s.irs I"or a loan to which Section 3714 of Chapter 37, Titte 38, United States Corie applies

VA Guaranteed i..oan and Assumption Poticy Rider
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(c) ASSUMPTION INDEMNITY LIABILITY: if this obligation is assumed, then the assumer hereby
agrees to assume all of the obligations of the veteran under the terms of the instruments creating and securing the
§oan. The assumer further agrees to indemnify the Depanmenf of Veterans Affairs 10 the extent of any c\aim
payment arising i?om the guaranty or insurance of the indebtedness created by this instrument

`lN WITN.ESS WHEREOF, Borrower{s) has executed this VA Guar‘anteed I.oan and Assumption Po?icy Rider.

Q_§/a+- \._.. w ,;)I>£. L@ -{c>""lz,. (S@a])

REX L. WISE -Borrower

 

(Seal)
- Bon'ower

 

(Seal)
- Borrower

 

(Sen§)
- Borrower

 

VA Guaran€eed Loan and Assumption Policy Rider
1538R~XX (07!10) Page 3 of 3

 

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'Form No. (5/01) cables Nc):
Freiirninazy Report FILE NO:
SUPER EAGLE LEN€)ER REF:

 

Exhibit "A"

The iand referred to in this Report is situated in the STATE OF Okiahoma, COUN?Y OF Okiahoma and
described as foiiows:

LOT FIVE (5), IN BLOCK THIRTY-ONE (31}, IN RAMBLING ACRES, SECTION 3, AN ADDITION TO
OKLAHOMA CUY, OKLAHOMA COUNTY, OKLAHOMA, ACCORDING TO THE RECORDED PLAT THEREOF.

Commoniy known as: 8884 TRACY DR, OKLAHOMA CITY, OK 73132

 

 

 

 

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Ret:ordir:g Requested By:
NATiONSTAR MORTGAGE DBA MR. COOPER

When Recorded Return To:

DOCUMENT AUM|N|STRAT|GN

NATIONSTAR MORTGAGE BBA Mt’-t. COOFER
8950 CYPRESS WATERS HLVD

COPPELL. TX 75019

 

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§.QBE_QBAIE_B_$§L¢Y_NEM
Ok|ahoma. Ok|ahoma

SELLER‘S SERVICENG #:060&419398 "W|SE"

MiN #:100025500|}14543272 515 #:1'383-679»6377

Daie of Assigrtment: Febrt.tary' 2€st. 2019

Assignor: MORTGAGE §LECTRON|C REGiSTRATiON SYSTEMS. tl\iC., AS NOMINEE FOR BANK {'JF
AMER|CA. N.A., iTS SUCCESSORS AND ASS|GNS at P.O. BOX 2026‘ FLlNT, M| 43501-2026
Assignee: NATIONSTAR MORTGAGE LLC DIB.'A MR. COOPER at 8950 CYPRESS WATERS BLVD.,
COPPF£LL. `¥X 75019

E>cecuted By: REX l. WiSE. A SINGLE PERSON To: MORTGAGE ELEC?RON!C REGiSTRATiON
SYSTEMS, lNC., AS NOM|NEE FOR BANK OF AMER§CA, N.A.

Date of Mortgage; 06!06.i2012 Recorded: 06!2712012 in Bool<.iReeiiLiiJer: 11959 F'ageiFo|io: 970 as
instrument No.: 201205270108733?0 in the County ot Ckiahoma, Staie of Oktahoma.

P{Opet`iy Address: 8804 TRACY DFtiVE, OKLAHOMA C|TY, OK ?3132-1€69

Legai: THE LAND REFERFZEU TO iN THES REPORT iS SETUATED |N THE STATE OF OKLAHOMA,
COUNTY OF OKLAHOMA AND DESCR|BED AS FOLLOWS:

LOT F|VE {5), |N BLOCK THERTY»ONE (31}, iN RAMBL|NG ACRES. SECT[ON 3, AN ADD|TION TO
OKLAHOMA Ci`i`Yl OKLAHOMA COUNTY. OKLAHOMA. ACCORD|NG TO `¥`HE RECORDED PLAT
THEREOF.

P<NOW Al.l.. ME:N ElY Tt-EESE PRESENTS, that for good and vaiuabte consideration, the receipt and
sufficiency of which is hereby acknowledged the said Assignor hereby assigns unto the above-named
Assignee. the said tviorigage having an original principal sum of 5121,129.00 with interest secured thereby,
and the tull benefit of all the powers and of ali the covenants and provisos therein containedl and the said
Assignor hereby grants and conveys onto the said Assignee, the Assignors interest under the Mo:tgage.

TO HAVE AND TO HOLD the said Mortgage, and the said property unto the said Assignee torever,
subieet to the terms contained in said Mortgage.

MORTGAGE ELECTRONIC ReeisTRATioz\i s\'STEMs lNc.. ns NOM|NEE FDR BANK OF manion
N A. irs SUCCESSORS two ASS:GNS
Oe Es.brlient.z.i.st\.g_‘i£

BVZP
TSE AL.E , Viee President

STATE':` OF" Texas
COUNTY OF Da|ias

On February 2151.2019, before me, OMAR BASPED, a Notary Pubtie in and ior Dallas tn the State ot
?exas, personally appeared TSEDALE ALEN|U, V’ice Presideni, personally known to me {or proved to me
on the basis of satisfactory eu£dence) to be the person(s} whose name(s) isfare subscribed to the within
instrument and acknowledged to me that heisheithey executed the same in his!l'terftheir authorized
capacity. and that by hisiher.ftheir signature on the instrument the person(s). or the entity upon behalf ot
which the persen{s) acted, executed the instrument

 
  

Wi`E‘NESS my hand and officiai sea|.

<7“-' ’?,__/
OMAR BASPED
Notazy Expires: 12104/2019 #?30458850

 
      
    

OMAH BASPEt)

‘ t\totury Pup|ic. Srste ol' Texas

=_l 5 Comm. Expires 12- 011-2019
”':Siit.iii~" salary 10 130453855

     

 

   

 

{'t'his area for notariai seat}

`DRD'ORONA`|'['OM|J‘£M§ 081|5:25 AM' NAUE\NAWAC°OWMUX)G€HMB?§?' UKUKLAH‘€X§USMBI!SE OXETATE_MDRT_AESNSN_ASSN
`BHZ'BHENA?°E"

 

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